 Case 2:18-cv-05741-DMG-PLA Document 48-1 Filed 08/17/18 Page 1 of 26 Page ID
                                  #:1558


 1 CARLOS R. HOLGUÍN (Cal. Bar No. 90754)
 2 Center for Human Rights & Constitutional Law
   256 South Occidental Boulevard
 3 Los Angeles, CA 90057
 4 Telephone: (213) 388-8693
   Email: crholguin@centerforhumanrights.org
 5
 6 Listing continues on next page
 7   Attorneys for Plaintiffs
 8
 9                              UNITED STATES DISTRICT COURT
10                 CENTRAL DISTRICT OF DISTRICT OF CALIFORNIA
11                                   WESTERN DIVISION
12
13   LUCAS R., et al.,                        No. CV 2:18-CV-05741-DMG-PLA
14                   Plaintiff,               MEMORANDUM OF POINTS AND
                                              AUTHORITIES IN SUPPORT OF MOTION
15         v.                                 FOR PRELIMINARY INJUNCTION RE:
16                                            PLAINTIFF GABRIELA N.
     ALEX AZAR, Secretary of U.S.
17   Department of Health and Human           Hearing: September 14, 2018
     Services; et al.,                        Time: 9:30 a.m.
18                                            Room: 1st St. Courthouse
                     Defendant.                        Courtroom 8C
19
20   ///
21
22
23
24
25
26
27
28
                                                     MEMORANDUM IN SUPPORT OF MOTION FOR
                                                                   PRELIMINARY INJUNCTION
                                                         CASE NO. 2:18-CV-05741-DMG-PLA
 Case 2:18-cv-05741-DMG-PLA Document 48-1 Filed 08/17/18 Page 2 of 26 Page ID
                                  #:1559


 1   Counsel for Plaintiffs, continued
 2   HOLLY S. COOPER (Cal. Bar No. 197626)
 3   Co-Director, Immigration Law Clinic
     CARTER C. WHITE (Cal. Bar No. 164149)
 4   Director, Civil Rights Clinic
     University of California Davis School of Law
 5   One Shields Ave. TB 30
     Davis, CA 95616
 6   Telephone: (530) 754-4833
 7   Email: hscooper@ucdavis.edu
            ccwhite@ucdavis.edu
 8
     LEECIA WELCH (Cal. Bar No. 208741)
 9   NEHA DESAI (Cal. RLSA Bar No. 803161)
10   POONAM JUNEJA (Cal. Bar No. 300848)
     National Center for Youth Law
11   405 14th Street, 15th Floor
     Oakland, CA 94612
12   Telephone: (510) 835-8098
     Email: lwelch@youthlaw.org
13          ndesai@youthlaw.org
14          pjuneja@youthlaw.org
15   CRYSTAL ADAMS (Cal. Bar No. 308638)
     National Center for Youth Law
16   1313 L St. NW, Suite 130
17   Washington, DC 20005
     Telephone: (202) 868-4785
18   Email: cadams@youthlaw.org
19   SUMMER WYNN (Cal. Bar No. 240005)
     MARY KATHRYN KELLEY (Cal. Bar No. 170259)
20   JON F. CIESLAK (Cal. Bar No. 268951)
21   MEGAN L. DONOHUE (Cal. Bar No. 266147)
     Cooley LLP
22   4401 Eastgate Mall
     San Diego, CA 92121-1909
23   Telephone: (858) 550-6000
24   Email: swynn@cooley.com
            mkkelley@cooley.com
25          jcieslak@cooley.com
            mdonohue@cooley.com
26
27
28
                                                    MEMORANDUM IN SUPPORT OF MOTION FOR
                                                                  PRELIMINARY INJUNCTION
                                                        CASE NO. 2:18-CV-05741-DMG-PLA
 Case 2:18-cv-05741-DMG-PLA Document 48-1 Filed 08/17/18 Page 3 of 26 Page ID
                                  #:1560


 1                                              TABLE OF CONTENTS
 2
                                                                                                                          Page
 3
 4   I.    Introduction ......................................................................................................... 1
     II.   Statement Of Facts .............................................................................................. 2
 5
           A.    Gabriela is Being Harmed by her Prolonged Detention and
 6               Separation from her Grandfather .............................................................. 2
 7         B.    Isaac Has Established that He Would Be a Safe and Suitable
                 Sponsor ...................................................................................................... 5
 8
     III. Legal Standard for Issuance of Temporary Injunction........................................ 8
 9   IV. ORR’S Indefinite Detention of Gabriela is Inflicting Irreparable Injury............ 8
10         A.    Gabriela’s Time in ORR Custody has Resulted in On-going Harm. ........ 8
11         B.    Isaac is a Fit Custodian for Gabriela ....................................................... 10
     V.    Gabriela Is Likely to Succeed on the Merits of her Claim that ORR’s
12         Continuing to Detain her is Unlawful ............................................................... 14
13         A.    ORR’s Detention of Gabriela Breaches the Flores Settlement ............... 15
14         B.    ORR’s Refusal to Place Gabriela with Isaac Violates the TVPRA ........ 15
           C.    Gabriela’s Indefinite Detention Without Due Process Violates the
15
                 First and Fifth Amendments ................................................................... 16
16   VI. The Equities Weigh Heavily in Gabriela’s Favor ............................................. 19
17   VII. Reuniting Gabriela with her Family Is in the Public Interest............................ 19
18   VIII. Conclusion ......................................................................................................... 20

19
20
21
22
23
24
25
26
27
28
                                                                                  MEMORANDUM IN SUPPORT OF MOTION FOR
                                                                 i.                             PRELIMINARY INJUNCTION
                                                                                      CASE NO. 2:18-CV-05741-DMG-PLA
 Case 2:18-cv-05741-DMG-PLA Document 48-1 Filed 08/17/18 Page 4 of 26 Page ID
                                  #:1561


 1                                           TABLE OF AUTHORITIES
 2
                                                                                                                     Page(s)
 3   Cases
 4   Adickes v. S.H. Kress & Co.,
 5      398 U.S. 144 (1970)................................................................................................. 13
 6   All. for the Wild Rockies v. Cottrell,
 7      632 F.3d 1127 (9th Cir. 2011) ................................................................................... 8

 8   Amoco Prod. Co. v. Vill. of Gambell,
       480 U.S. 531 (1987)................................................................................................. 19
 9
10   Arc of Cal. v. Douglas,
        757 F.3d 975 (9th Cir. 2014) ............................................................................... 8, 19
11
     Diouf v. Napolitano,
12
        634 F.3d 1081 (9th Cir. 2011) ................................................................................. 16
13
     Flores v. Johnson,
14      212 F. Supp. 3d 864 (C.D. Cal. 2015) ..................................................................... 15
15
     Flores v. Sessions,
16      862 F.3d 863 (9th Cir. 2017) ............................................................................... 2, 16
17   Flores v. Sessions,
18      No. CV 85-4544 DMG (C.D. Cal.) .................................................................. passim
19   In re Gault,
         387 U.S. 1 (1967)..................................................................................................... 18
20
21   Int’l Refugee Assistance Project v. Trump,
         _ F.3d _, 2018 WL 894413 (4th Cir. Feb. 15, 2018), vacated by _
22       S.Ct. _, 2018 WL 1256938 ...................................................................................... 16
23
     Johnson v. City of Cincinnati,
24      310 F.3d 484 (6th Cir. 2002) ................................................................................... 17
25   Mathews v. Eldridge,
26     424 U.S. 319 (1976)................................................................................................. 17
27   Moore v. City of East Cleveland,
28     431 U.S. 494 (1977) (plurality opinion) .................................................................. 16
                                                                                 MEMORANDUM IN SUPPORT OF MOTION FOR
                                                                ii.                            PRELIMINARY INJUNCTION
                                                                                     CASE NO. 2:18-CV-05741-DMG-PLA
 Case 2:18-cv-05741-DMG-PLA Document 48-1 Filed 08/17/18 Page 5 of 26 Page ID
                                  #:1562


 1                                            TABLE OF AUTHORITIES
 2                                                  (continued)
                                                                                                                        Page(s)
 3   Reno v. Flores,
 4     507 U.S. 292 (1993)................................................................................................. 16

 5   Roberts v. United States Jaycees,
       468 U.S. 609 (1984)................................................................................................. 17
 6
 7   Rodriguez v. Robbins,
       715 F.3d 1127 (9th Cir. 2013) ................................................................................. 20
 8
     Sammartano v. First Judicial District Court,
 9
       303 F.3d 959 (9th Cir. 2002) ................................................................................... 20
10
     Schad v. Arizona,
11      501 U.S. 624 (1991) (plurality opinion) .................................................................. 18
12
     Sierra On-Line, Inc. v. Phoenix Software, Inc.,
13      739 F.2d 1415 (9th Cir. 1984) ................................................................................... 8
14   United States v. Bogle,
15     855 F.2d 707 (11th Cir. 1988) ................................................................................. 16

16   Washington v. Trump,
       847 F.3d 1151 (9th Cir. 2017) ................................................................................... 8
17
18   Winter v. Nat’l Res. Def. Council, Inc.,
       555 U.S. 7 (2008)....................................................................................................... 8
19
     Zadvydas v. Davis,
20
       533 U.S. 678 (2001)................................................................................................. 16
21
     Statutes
22
     8 U.S.C. § 1232 ............................................................................................................... 2
23
24   8 U.S.C. §§ 1232(c)(2)(A) ...................................................................................... 14, 15
25   William Wilberforce Trafficking Victims Protection Reauthorization Act
26     of 2008, Pub. L. 110-457, 122 § 235 Stat. 5044........................................................ 2

27
28
                                                                                   MEMORANDUM IN SUPPORT OF MOTION FOR
                                                                 iii.                            PRELIMINARY INJUNCTION
                                                                                       CASE NO. 2:18-CV-05741-DMG-PLA
 Case 2:18-cv-05741-DMG-PLA Document 48-1 Filed 08/17/18 Page 6 of 26 Page ID
                                  #:1563


 1                                           TABLE OF AUTHORITIES
 2                                                 (continued)
                                                                                                                       Page(s)
 3   Other Authorities
 4   B. Holman & J. Ziedenberg, The Dangers of Detention: The Impact of
 5      Incarcerating Youth in Detention and Other Secure Facilities (Justice
        Policy Institute, ed.) ................................................................................................... 8
 6
 7   Fed. R. Civ. Proc. 65(a) & (b) ........................................................................................ 8

 8   Juvenile and Family Court Judges, Resource Guidelines: Improving
        Court Practice in Child Abuse & Neglect Cases 30 (1995) .................................... 18
 9
10   Juvenile Justice Standards Annotated: A Balanced Approach (1996)......................... 18

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                                                  MEMORANDUM IN SUPPORT OF MOTION FOR
                                                                 iv.                            PRELIMINARY INJUNCTION
                                                                                      CASE NO. 2:18-CV-05741-DMG-PLA
 Case 2:18-cv-05741-DMG-PLA Document 48-1 Filed 08/17/18 Page 7 of 26 Page ID
                                  #:1564


 1   I.    INTRODUCTION
 2         Plaintiff Gabriela N. is a seventeen-year-old girl from El Salvador who has been
 3   detained by Defendant Office of Refugee Resettlement (“ORR”) and separated from
 4   her family since January 2017–over nineteen months now. Plaintiffs seek a preliminary
 5   injunction requiring her immediate placement with her grandfather and Next Friend,
 6   Isaac N. Isaac has worked diligently to navigate ORR’s sponsorship process and address
 7   ORR’s ever-changing concerns and demands so that he could be reunited with his
 8   granddaughter. All the while, ORR’s treatment of Gabriela has exacerbated her trauma
 9   history and caused a steady deterioration of her mental state, which worsens each day
10   she remains in ORR custody. Plaintiffs can easily show that ORR’s continuing
11   detention of Gabriela will cause her irreparable injury and that Gabriela will likely
12   prevail on her claim that such detention is unlawful.
13         Plaintiffs’ experts demonstrate that Isaac could provide Gabriela with safe and
14   stable care that far surpasses the treatment she has received from ORR institutions.
15   Candida Rugama, a social worker with a Master’s Degree in Social Work and over two
16   decades’ experience vetting custodians for dependent children, recently evaluated Isaac
17   and his household. Ms. Rugama found Isaac to be a fit custodian and strongly
18   recommended that Gabriela be immediately placed in his custody. Dr. Amy Cohen, a
19   respected child psychiatrist, evaluated Gabriela at ORR’s St. Michael’s Home for
20   Children shelter facility (“St. Michael’s”) on July 11, 2018. Dr. Cohen was highly
21   critical of ORR’s treatment of Gabriela and found that her continued detention at St.
22   Michael’s and prolonged separation from her family are profoundly and irreparably
23   injuring her.
24         Plaintiffs can also establish that Gabriela will succeed on the merits of her claims
25   for relief. First, Defendants have violated the Flores Settlement’s “general policy
26   favoring release” and requirement that: “Where the INS determines that the detention
27   of the minor is not required either to secure his or her timely appearance before the INS
28   or the immigration court, or to ensure the minor’s safety or that of others, the INS shall
                                                             MEMORANDUM IN SUPPORT OF MOTION FOR
                                               1.                          PRELIMINARY INJUNCTION
                                                                 CASE NO. 2:18-CV-05741-DMG-PLA
 Case 2:18-cv-05741-DMG-PLA Document 48-1 Filed 08/17/18 Page 8 of 26 Page ID
                                  #:1565


 1   release a minor from its custody without unnecessary delay, . . . [to] an adult relative
 2   (brother, sister, aunt, uncle, or grandparent). . .” Flores v. Sessions, No. CV 85-4544
 3   DMG (C.D. Cal.), Plaintiffs’ Exhibits in Support of Class Certification, August 2, 2018
 4   (“CCX”), Exhibit 1, at 9 ¶ 14 (“Flores Settlement”). Second, Defendants have violated
 5   § 235 of the William Wilberforce Trafficking Victims Protection Reauthorization Act
 6   of 2008, Pub. L. 110-457, 122 Stat. 5044, codified at 8 U.S.C. § 1232 (“TVPRA”),
 7   requiring ORR to “promptly” place a detained minor “in the least restrictive setting that
 8   is in the best interest of the child,” generally, with “a suitable family member . . . .”
 9   Only if “a ‘suitable family member’ or other guardian is not available to take custody
10   of a minor,” may ORR continue to detain him or her “in a specialized juvenile program
11   or facility.” Flores v. Sessions, 862 F.3d 863, 871 (9th Cir. 2017). Finally, ORR’s
12   ongoing detention of Gabriela has impaired her fundamental constitutional rights to
13   personal liberty, family integrity, and family association without the slightest
14   procedural fairness or transparency. Decl. of Isaac N., March 15, 2018, Exhibit 7 at 3
15   ¶ 12; Decl. of Gabriela N., Dec. 1, 2017, Exhibit 2 at 1 ¶ 6.
16         ORR has now detained Gabriela for over a year and a half on vague,
17   unsubstantiated allegations regarding Isaac’s fitness. Enough is enough. Gabriela is far
18   worse off in ORR’s custody than with a loving relative who can provide her the support
19   and care she desperately needs. Gabriela will suffer irreparable injury if she is not
20   immediately placed with her grandfather. Because her continued detention is unlawful,
21   the Court should grant this motion for a preliminary injunction.
22   II.   STATEMENT OF FACTS
23         A.     Gabriela is Being Harmed by her Prolonged Detention and Separation
                  from her Grandfather
24
25         Gabriela is an extraordinary seventeen-year-old who wants nothing more than to
26   be reunited with her grandfather and to attend school in California. Ex. 34 at 303-04.
27   She hopes to become an attorney someday. Id. at 303. ORR detained her in January
28   2017 and placed her at the Southwest Key Casita del Valle shelter (“Casita del Valle”)
                                                           MEMORANDUM IN SUPPORT OF MOTION FOR
                                               2                         PRELIMINARY INJUNCTION
                                                               CASE NO. 2:18-CV-05741-DMG-PLA
 Case 2:18-cv-05741-DMG-PLA Document 48-1 Filed 08/17/18 Page 9 of 26 Page ID
                                  #:1566


 1   in Clint, Texas. Ex. 8 at 116. Gabriela came to the United States from El Salvador to
 2   escape extreme violence and an abusive stepfather. Ex. 34 at 288.
 3         Despite the trauma she has experienced, Gabriela has demonstrated resiliency.
 4   Shortly after Gabriela arrived at Casita del Valle, medical staff evaluated her and did
 5   not identify medical issues. Ex. 8 at 116-17. Shelter facility staff noted that Gabriela
 6   appeared emotionally stable, receptive, and resilient; they did not identify any mental
 7   health concerns. Ex. 9 at 120.
 8         As months passed without being reunited with her family, however, Gabriela
 9   began to deteriorate. Ex. 34 at 290. After an incident in April 2017 resulting from an
10   ongoing conflict with a staff member, Gabriela “smash[ed] a mirror and us[ed] a broken
11   shard to ‘poke’ herself.” Id.; see also Ex. 20 at 150. The effects of her detention
12   worsened still. On August 2, 2017, Gabriela reported suicidal ideation “related to
13   increased frustration over her case . . . and extended stay in the program.” Ex. 20 at
14   150.1 She was hospitalized on August 3, 2017. Id. When a doctor at the hospital
15   conducted a psychological evaluation, the doctor incorrectly recommended ORR
16   transfer Gabriela to a Residential Treatment Center. Id. (“[Gabriela] will benefit form
17   (sic) a residential treatment center to target her therapeutic needs at this time.”). The
18   doctor also prescribed Prozac, which Gabriela was administered without first obtaining
19   informed consent from her family. Ex. 18 at 139, 141-42. 2
20         On September 7, 2017, a few weeks after Gabriela’s discharge from the hospital,
21   ORR transferred Gabriela to Shiloh Residential Treatment Center (“Shiloh RTC”) per
22   the doctor’s unfounded recommendation. Ex. 22 at 166. Prior to this transfer, ORR
23   failed to provide Gabriela and Isaac with notice, an opportunity to be heard, or a right
24   to appeal. Ex. 2 at 49 ¶ 6 (“I don’t remember ever being told or reading that I could
25   1
       Prior to this report of suicidal ideation, Gabriela was forced to wait several weeks for
26   a psychiatric evaluation due to a perpetual lack of available providers; her social worker
     requested the evaluation in June and was told the first available appointment was not
27   until September. Ex. 13 at 129; Ex. 14 at 131; Ex. 15 at 133; Ex. 16 at 135.
     2
       Among Prozac’s known side-effects are increased risk of suicidal ideation and
28   behavior, and weight gain in excess of ten pounds. ECF 1 at 17, ¶ 56; Ex. 34 at 310.
                                                           MEMORANDUM IN SUPPORT OF MOTION FOR
                                                3                        PRELIMINARY INJUNCTION
                                                               CASE NO. 2:18-CV-05741-DMG-PLA
Case 2:18-cv-05741-DMG-PLA Document 48-1 Filed 08/17/18 Page 10 of 26 Page ID
                                 #:1567


 1   appeal or challenge the government’s decision to put me into this treatment facility, or
 2   that I could go to court about it.”).
 3         Upon Gabriela’s arrival at Shiloh, the staff noted that “separation from family”
 4   and “frustration with lengthy reunification process” were major stressors for her. Ex. 22
 5   at 172. Yet, throughout her time at Shiloh, Gabriela and Isaac continued to struggle with
 6   ORR’s endless, byzantine process.
 7         While at Shiloh, Gabriela was required to take both Prozac and Adderall. Ex. 25
 8   at 189. Gabriela did not want to take the medications. Ex. 3 at 53 ¶ 6. They made her
 9   feel very sleepy, and she did not find them helpful, but she feared her ability to leave
10   detention would be jeopardized if she did not take the medications. Id.; Ex. 19 at 146.
11   Gabriela gained twenty-five pounds during her first three months at Shiloh, which may
12   also have been an adverse effect of Prozac. Ex. 34 at 310.3 No one from the shelter or
13   ORR asked Isaac or Gabriela’s mother for their consent to administer Gabriela these
14   psychotropic drugs. Ex. 5 at 63 ¶ 9.
15         On April 26, 2018, after eight months of detention at Shiloh, Gabriela was
16   stepped down–i.e., transferred to a less secure facility–to St. Michael’s because she
17   “ha[d] not reported self‐injurious behavior, or . . . any suicidal ideations,” nor was she
18   a flight risk. Ex. 31 at 261. Gabriela’s psychiatrist recommended the step down on
19   March 6, 2018, yet it took nearly two months to facilitate the transfer. Id.4
20         Now at her third ORR detention placement, Gabriela feels “miserable” and is “so
21   3
       Dr. Cohen’s report notes that although “this increase in weight was duly noted, there
22   is no evidence that the cause of this weight gain was explored. [Gabriela’s] abnormal
     lipid profile discovered her first month at Shiloh – suggesting a risk factor for
23   developing cardiovascular problems – was never rechecked despite her subsequent
     weight gain.” Ex. 34 at 295. Dr. Cohen further notes that Prozac “is reported to cause
24   an increase in weight in excess of 10 lbs in 25% of those who take it.” Id. at 310.
     Gabriela was told she was subsequently placed on Adderall to address this weight gain.
25   Id. at 311.
     4
       Less than one month after her transfer to Shiloh, it appears that Gabriela’s psychiatrist
26   was prepared to recommend Gabriela be stepped down to a shelter because Gabriela
     was “doing well, compliant with treatment, no incidents.” Ex. 23 at 175; Ex. 34 at 295.
27   However, for unknown reasons, Gabriela was not transferred to a less secure facility for
     another five months. Ex. 31 at 261-62.
28
                                                            MEMORANDUM IN SUPPORT OF MOTION FOR
                                                4                         PRELIMINARY INJUNCTION
                                                                CASE NO. 2:18-CV-05741-DMG-PLA
Case 2:18-cv-05741-DMG-PLA Document 48-1 Filed 08/17/18 Page 11 of 26 Page ID
                                 #:1568


 1   tired of being detained.” Ex. 3 at 53 ¶ 2; Ex. 34 at 302 (“Of her three settings, [Gabriela]
 2   reported that she finds St. Michael’s to be the most intolerable.”). She says: “I can’t cry
 3   because the staff ask me why I’m crying. . . . The staff yell at us all the time. . . . We
 4   just stay here locked up. We don’t have any privacy.” Ex. 3 at 55 ¶ 9.
 5         After over one and a half years in ORR custody, Gabriela feels devastated by
 6   ORR’s repeated rejections of her grandfather’s sponsorship applications, as well as the
 7   lack of procedural safeguards at her disposal to contest ORR’s autocratic decision-
 8   making. She feels powerless and miserable due to ORR’s continued unnecessary
 9   administration of psychotropic medications without her or her family’s consent, and the
10   unending daily harassment and abuse she faces from St. Michael’s staff. Every day she
11   is in detention, she feels more and more desperate: “I have to get out of this place. The
12   staff are so mean; they tease me and try to embarrass me. . . . I know I will be so happy
13   when I am finally free.” Ex. 4 at 58-59 ¶¶ 7-8.
14         B.     Isaac Has Established that He Would Be a Safe and Suitable Sponsor
15         Isaac has been working diligently to become Gabriela’s sponsor so that she can
16   be released from the detention that is causing her harm. Ex. 5 at 62-63 ¶¶ 3, 12; Ex. 34
17   at 290, 296. As the months passed by, he has become increasingly worried about
18   Gabriela’s well-being, dealt with the stress and anxiety of ORR’s ever-changing
19   demands, and worked hard to navigate ORR’s roadblocks. Ex. 7 at 112 ¶15; Ex. 5 at 62
20   ¶ 6. He has addressed each and every concern raised by ORR–and there is not a single
21   issue remaining to justify his continued separation from his granddaughter.
22         Isaac submitted his family reunification packet on April 12, 2017. Ex. 11 at 124.
23   ORR initially rejected Isaac’s application because his roommates refused to be
24   fingerprinted. Ex. 10 at 122.
25         In May 2017, Isaac’s fingerprints results suggested he had a criminal history in
26   El Salvador fifteen years ago. Ex. 21 at 155. Although Isaac explained that the
27   government had cleared him of those charges, Gabriela’s case manager required him to
28   obtain a letter of exoneration from the government of El Salvador. Ex. 7 at 111 ¶ 8; Ex.
                                                             MEMORANDUM IN SUPPORT OF MOTION FOR
                                                 5                         PRELIMINARY INJUNCTION
                                                                 CASE NO. 2:18-CV-05741-DMG-PLA
Case 2:18-cv-05741-DMG-PLA Document 48-1 Filed 08/17/18 Page 12 of 26 Page ID
                                 #:1569


 1   12 at 127. Isaac requested the letter from El Salvador, and it arrived a little over one
 2   month later. Ex. 7 at 111 ¶ 8. Although Gabriela’s case manager and ORR received the
 3   letter of exoneration they requested, ORR nonetheless rejected Isaac as a potential
 4   sponsor. Ex. 17 at 137; Ex. 21 at 155. ORR also concluded that Isaac’s work schedule
 5   was too demanding and would prohibit him from adequately caring for seventeen-year-
 6   old Gabriela. Ex. 17 at 137; Ex. 21 at 155.
 7         While Isaac remained committed to doing everything he could to reunify with
 8   Gabriela, the reunification process stalled for several months. After Gabriela arrived at
 9   Shiloh RTC in September 2017, ORR intentionally halted Isaac’s application process
10   altogether. Ex. 23 at 182. The ORR Federal Field Specialist (FFS) at Shiloh refused to
11   provide guidance to Gabriela’s case manager regarding how to proceed with Isaac’s
12   application. Id. Instead, the FFS instructed the case manager to wait to consider Isaac’s
13   application until a different FFS began working at Shiloh. Id.
14         At the end of November, over two months after Gabriela’s arrival at Shiloh, ORR
15   finally gave her case manager permission to reconsider Isaac for sponsorship. Id. Isaac
16   submitted a new family reunification packet on December 12, 2018. Ex. 26 at 206.
17   Unfortunately, while Isaac was responsive to all of the case manager’s requests, Isaac’s
18   roommate refused to submit his fingerprints. Id. Within less than a month after his
19   roommate refused to be fingerprinted, Isaac moved into a new apartment and submitted
20   necessary documentation to Gabriela’s case manager to ensure the reunification process
21   could proceed as quickly as possible. Id.; Ex. 27 at 215.
22         In early January, Gabriela’s case manager submitted a home study request to
23   ORR. Id. However, the delays in the process continued: ORR did not arrange a home
24   study to assess Isaac’s suitability as a custodian for Gabriela for another month. Ex. 28
25   at 218 (“Home Study”).
26         On or about February 1, 2018, ORR arranged a home study. Id. On February 15,
27   2018, ORR’s home investigator recommended against placing Gabriela with Isaac,
28   Home Study, at 241-42, and as a result Gabriela’s case manager and ORR rejected
                                                           MEMORANDUM IN SUPPORT OF MOTION FOR
                                               6                         PRELIMINARY INJUNCTION
                                                               CASE NO. 2:18-CV-05741-DMG-PLA
Case 2:18-cv-05741-DMG-PLA Document 48-1 Filed 08/17/18 Page 13 of 26 Page ID
                                 #:1570


 1   Isaac’s application. Ex. 29 at 259; Ex. 31 at 261.5
 2         From the time Isaac first applied for reunification in April 2017 to March 2018,
 3   no one ever even informed him that his application had been rejected. Instead, Isaac
 4   only learned that he had been declared unfit to care for his granddaughter after he
 5   inquired about the status of his application:
 6
           When I reached out to [Gabriela’s] social worker at Shiloh, she told me
 7         that ORR threw out my application . . . ORR has never officially told me
           that they are looking for other sponsors or that my application has been
 8         rejected.
 9   Ex. 7 at 112 ¶ 12.
10         In May 2018, shortly after Gabriela arrived at St. Michael’s, Gabriela’s new
11   caseworker explained to Isaac that his sponsorship application had three errors: (1) his
12   roommate refused to sign ORR’s paperwork; (2) he had not provided a letter of
13   exoneration; and (3) ORR was concerned about whether he would support Gabriela’s
14   education. Ex. 5 at 62-63 ¶ 7. However, if this caseworker’s explanation was actually
15   the basis for ORR’s denial, none of these grounds have any basis in reality: (1) Isaac no
16   longer lives with a roommate; (2) he has submitted the exoneration letter to ORR; and
17   (3) he wholeheartedly supports Gabriela’s education. 6 Id.; Ex. 7 at 110 ¶ 3. Given that
18   ORR’s sponsorship process fails to provide notice to family members of the reason for
19   their denial as sponsors, to this day Isaac has no way to know the actual basis for the
20
21   5
       Notably, Gabriela’s therapist, Ms. Avila, described Isaac as “attentive, caring,
     [demonstrating] appropriate concern for [Gabriela’s] well-being.” Ex. 34 at 296. The
22   case worker also observed Isaac’s support of “healthy and positive choices” for
     Gabriela. Id. In his conversations with the case manager, Isaac communicated a strong
23   desire to understand Gabriela’s psychiatric diagnoses and medications, and he
     committed to maintaining communication with Gabriela’s case manager. Ex. 7 at 111-
24   12 ¶¶ 11-12.
25   6
      Regarding Gabriela’s education, it should be noted that the Oakland Unified School
     District (OUSD) 2018-19 school year has already begun. Each day Gabriela remains
26   detained in ORR custody, she misses out on the opportunity to attend one of OUSD’s
     specialized newcomer high school programs and falls further behind academically. See
27   Ex. 34 at 314-17.
28
                                                           MEMORANDUM IN SUPPORT OF MOTION FOR
                                                7                        PRELIMINARY INJUNCTION
                                                               CASE NO. 2:18-CV-05741-DMG-PLA
Case 2:18-cv-05741-DMG-PLA Document 48-1 Filed 08/17/18 Page 14 of 26 Page ID
                                 #:1571


 1   denial and certainly has not had an opportunity to dispute the decision other than
 2   through filing this lawsuit.
 3   III.   LEGAL STANDARD FOR ISSUANCE OF TEMPORARY INJUNCTION
 4          Federal Rule of Civil Procedure 65(a) and (b) authorize courts to issue temporary
 5   restraining orders and preliminary injunctions. The standards for issuing a temporary
 6   restraining order and a preliminary injunction are “substantially identical.” See, e.g.,
 7   Washington v. Trump, 847 F.3d 1151, 1159 n.3 (9th Cir. 2017). Both remedies are
 8   granted to preserve the status quo and prevent irreparable injury before judgment. Sierra
 9   On-Line, Inc. v. Phoenix Software, Inc., 739 F.2d 1415, 1423 (9th Cir. 1984).
10          To obtain preliminary relief, Gabriela must establish: (1) “that [she] is likely to
11   succeed on the merits”; (2) “that [she] is likely to suffer irreparable harm in the absence
12   of preliminary relief”; (3) “that the balance of equities tips in [her] favor”; and (4) “that
13   an injunction is in the public interest.” Winter v. Nat’l Res. Def. Council, Inc., 555 U.S.
14   7, 20 (2008).
15          Courts evaluate these factors on a “sliding scale.” Arc of Cal. v. Douglas, 757
16   F.3d 975, 983 (9th Cir. 2014) (internal quotations and citation omitted). A “stronger
17   showing of irreparable harm to a plaintiff might offset a lesser showing of likelihood of
18   success on the merits.” All. for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1131 (9th
19   Cir. 2011). But where, as here, the likelihood of grave irreparable injury is palpable and
20   the balance of equities tips sharply in Gabriela’s favor, “the moving party [need only]
21   demonstrate a fair chance of success on the merits or questions serious enough to require
22   litigation.” Arc of Cal., 757 F.3d at 993-94 (internal quotations and citation omitted).
23   Gabriela easily satisfies this test.
24   IV.    ORR’S INDEFINITE DETENTION OF GABRIELA IS INFLICTING IRREPARABLE
            INJURY.
25
            A.     Gabriela’s Time in ORR Custody has Resulted in On-going Harm.
26
27          It has long been recognized that even short periods of detention are inimical to
28   the well-being of children and youth. See generally B. Holman & J. Ziedenberg, The
                                                             MEMORANDUM IN SUPPORT OF MOTION FOR
                                                 8                         PRELIMINARY INJUNCTION
                                                                 CASE NO. 2:18-CV-05741-DMG-PLA
Case 2:18-cv-05741-DMG-PLA Document 48-1 Filed 08/17/18 Page 15 of 26 Page ID
                                 #:1572


 1   Dangers of Detention: The Impact of Incarcerating Youth in Detention and Other
 2   Secure      Facilities     (Justice     Policy      Institute,     ed.)      available         at
 3   www.justicepolicy.org/images/upload/06-11_rep_dangersofdetention_jj.pdf. Dr. Luis
 4   Zayas, a leading child psychologist and Dean of the School of Social Work at the
 5   University of Texas at Austin, emphasizes the unanimity among child welfare experts
 6   of the serious harm resulting from detention of children. The medical and psychiatric
 7   literature has shown that incarceration of children, even in such circumstances as living
 8   with their mothers in detention, has long-lasting psychological, developmental, and
 9   physical effects. Ex. 6 at 70, 77-80 ¶¶ 10-11, 30-33, 35-36.
10         Gabriela is particularly vulnerable to the harms of prolonged detention due to her
11   trauma history, which has been exacerbated by ORR’s poor treatment and improper
12   care. Ex. 34 at 305. Dr. Amy Cohen has concluded that ORR’s poor care, including
13   multiple misdiagnoses, unnecessary hospitalization, and harmful responses to
14   Gabriela’s trauma have had, and continue to have, grave implications for Gabriela’s
15   mental health. See Id. at 309. Moreover, Gabriela has suffered immeasurably while in
16   ORR custody as a result of:
17         • ORR’s repeated refusal to reunite her with her grandfather;
18         • Gabriela’s feelings of powerlessness due to her inability to challenge ORR’s
19             inept decision-making relating to her placement and reunification;
20         • ORR’s insistence that she take psychotropic medications that she does not feel
21             she has needed for more than a year; and
22         • On-going verbal abuse and harassment from staff at all three ORR
23             placements.
24   Id. at 305; Ex. 7 at 112 ¶ 15; Ex. 5 at 62 ¶ 6; Ex. 3 at 55 ¶¶ 9, 10.
25         Dr. Cohen’s report notes that Gabriela’s level of distress has increased since her
26   arrival at St. Michael’s four months ago. This is likely due to a combination of the
27   psychological effects of her protracted detention, plus her experience at the facility
28   which she has referred to as the “most intolerable” of her three placements. Ex. 34 at
                                                             MEMORANDUM IN SUPPORT OF MOTION FOR
                                                 9                         PRELIMINARY INJUNCTION
                                                                 CASE NO. 2:18-CV-05741-DMG-PLA
Case 2:18-cv-05741-DMG-PLA Document 48-1 Filed 08/17/18 Page 16 of 26 Page ID
                                 #:1573


 1   302. Gabriela reports being picked on and made fun of for being Central American. Id.
 2   She states that the “staff are so mean; they tease me and try to embarrass me.” Ex. 4 at
 3   58 ¶ 7. Gabriela recounted an episode to Dr. Cohen in which staff told Gabriela and her
 4   peers: “You’re nobodies . . . You don’t have any rights . . . You were detained by the
 5   government. . . . Who do you think you are?” Ex. 34 at 302. Gabriela recently shared
 6   that, “if I laugh loud, they tell me to shut up. The staff yell at us all the time. The staff
 7   don’t really care about us.” Ex. 3 at 55 ¶ 9.
 8         Dr. Cohen has concluded: “There is no doubt that 18 months of incarceration
 9   have taken a toll on her and that she is likely less accessible and trusting and certainly
10   more cynical about the intentions of those who are currently caring for her . . . I believe
11   that ongoing institutionalization is having and will continue to have a seriously
12   deleterious effect on her well-being.” Ex. 34 at 313-14. When looking globally at the
13   over a year and a half of confinement, Dr. Cohen opines that:
14                 “Beyond the marathon failure of appreciation of [Gabriela’s]
                   PTSD and its devastating and global impact, there was also a
15                 parallel failure of empathy for and understanding of the
                   enormity of the proximal stressor which was worsening daily:
16                 [Gabriela’s] ongoing incarceration, her uncertainty about a
                   sponsor . . . the rollercoaster of her grandfather’s attempts to
17                 become her sponsor . . . The fact that this took a tremendous
                   toll on her which showed in her mood, her physiologic state,
18                 her capacity to focus is not in the least surprising. But, again,
                   was somehow lost on those whose job was to care for her.”
19
     Id. at 305.
20
           B.      Isaac is a Fit Custodian for Gabriela
21
22         In stark contrast to the harmful conditions in which ORR is detaining Gabriela,
23   her grandfather Isaac is ready and willing to provide a stable and loving home. Indeed,
24   ORR’s own home study of Isaac highlights many positive elements regarding Isaac’s
25   fitness to care for Gabriela. The examiner underscores the close relationship between
26   Isaac and Gabriela, and credits Isaac for having “adequate housing,” “access to
27   transportation,” and “maintain[ing] stable employment.” ORR Home Study, Ex. 28 at
28   228, 240. The ORR home study also notes that Isaac is committed to “oversee
                                                             MEMORANDUM IN SUPPORT OF MOTION FOR
                                                10                         PRELIMINARY INJUNCTION
                                                                 CASE NO. 2:18-CV-05741-DMG-PLA
Case 2:18-cv-05741-DMG-PLA Document 48-1 Filed 08/17/18 Page 17 of 26 Page ID
                                 #:1574


 1   [Gabriela’s] arrival to school each day and . . . provide afterschool supervision,” is
 2   aware of a local “hospital where he could take [Gabriela] for any medical needs,” and
 3   had “identified a local mental health provider . . . where he intends to connect
 4   [Gabriela].” Id. at 227, 232. The ORR investigator further found that Isaac
 5   “understand[s] [his] sponsorship responsibilities” and “agree[s] to comply with
 6   conditions of release, including educational, legal, medical, mental health, and safety
 7   components, in addition to participation in post release services.” Id. at 241.
 8         Despite Isaac’s many positive attributes, however, ORR has refused to place
 9   Gabriela in his care. The record presents a confusing and sometimes conflicting array
10   of reasons why ORR has rejected Isaac as Gabriela’s sponsor. 7 What is clear is that
11   none of the many grounds ORR raised to deny Isaac’s reunification application warrant
12   protracting Gabriela’s detention any further or preventing her from living with her
13   grandfather.
14         On July 17, 2018, Candida Rugama visited Isaac’s home to assess his suitability
15   as Gabriela’s caregiver. Ms. Rugama is a retired social worker with the San Mateo
16   County Department of Children and Family Services (“DCFS”). In the course of her
17   career with DCFS she has evaluated placements for foster children “hundreds” of times.
18   Ex. 33 at 276 ¶ 4. Ms. Rugama “strongly disagree[d] with the conclusions in ORR’s
19   home study” raising concern about Isaac’s suitability, found that Isaac has the capacity
20   and willingness to serve as a safe and responsible custodian for Gabriela, and
21   recommended that Gabriela be placed with Isaac immediately. Id. at 281 ¶ 18.
22         Ms. Rugama’s home study refutes each and every concern raised by ORR.
23   Among her conclusions, Ms. Rugama found that:
24         • Isaac is “highly motivated to care for [Gabriela] and seek the services that he
25             needs to support her overall well-being.” Id. at 277 ¶ 8. He “understands that
26
     7
27    For example, ORR’s concern that Isaac’s former roommate refused to sign paperwork
     or submit fingerprints is not relevant today. Isaac lives alone in his own apartment.
28
                                                           MEMORANDUM IN SUPPORT OF MOTION FOR
                                               11                        PRELIMINARY INJUNCTION
                                                               CASE NO. 2:18-CV-05741-DMG-PLA
Case 2:18-cv-05741-DMG-PLA Document 48-1 Filed 08/17/18 Page 18 of 26 Page ID
                                 #:1575


 1          [Gabriela] has had a history of abuse and trauma and knows that she needs
 2          specialized services and supports,” and he “has sought out services in his
 3          community and believes that the support of doctors and therapists will be very
 4          important in helping [Gabriela] to transition.” Id. at 279 ¶12.
 5       • Isaac maintains strong relationships with each of his three children (including
 6          Gabriela’s mother) and is “willing to attend parenting classes and any other
 7          related classes in order to learn how to best support [Gabriela].” Id. at 277 ¶ 8.
 8       • Isaac has community supports in place and is willing to seek out further
 9          community supports for Gabriela’s benefit. Id. at 278 ¶ 10. Isaac’s close friend
10          has stated that she is willing to be a source of support for Gabriela, and has
11          even submitted her fingerprints to ORR “as a gesture of her commitment to
12          both [Gabriela] and [Isaac].” Id.
13       • Isaac “is committed to supporting [Gabriela] financially and has the means to
14          do so.” Id. at 279 ¶ 13. Ms. Rugama determined that the ORR examiner’s
15          concerns over Isaac’s financial ability to support Gabriela were misplaced.
16          Isaac “has provided [Gabriela] with financial support while she has been
17          detained, and has also routinely sent money back home to family in El
18          Salvador.” Id.
19       • Isaac has a stable and structured home environment. Id. at 280 ¶ 16. His work
20          schedule is “stable and predictable.” Id. at 279 ¶ 14. Isaac has also bought
21          [Gabriela] a new twin bed, bedding, and dresser for her living space. Id. Ms.
22          Rugama further noted that Isaac “would be happy to buy dishes and have more
23          food available at home for [Gabriela] if she were to come and live with him.”
24          Id. at 280 ¶ 16.
25       • Isaac’s health is stable. He has been consistently obtaining medical treatment
26          for his health condition. Id. 279-80 ¶ 15. Diagnosed with Chronic
27          Lymphocytic Leukemia, Isaac has been entirely compliant with his
28          chemotherapy treatment and reports that he is “recovering well.” Id.
                                                         MEMORANDUM IN SUPPORT OF MOTION FOR
                                             12                        PRELIMINARY INJUNCTION
                                                             CASE NO. 2:18-CV-05741-DMG-PLA
Case 2:18-cv-05741-DMG-PLA Document 48-1 Filed 08/17/18 Page 19 of 26 Page ID
                                 #:1576


 1            Furthermore, Isaac has “proactively identified a person to take care of
 2            [Gabriela] should his health deteriorate.” Id.
 3         Ms. Rugama also concluded that ORR’s alleged concerns regarding Isaac’s
 4   criminal history are unfounded and irrelevant. Even the ORR Home Study confirms that
 5   Isaac “has provided documentation to support his clearance of any criminal charges.”
 6   ORR Home Study, Ex. 28 at 242; Ex. 24 at 126. Moreover, he left El Salvador years
 7   ago and “does not have any associations with individuals involved in criminal activity.”
 8   Ex. 33 at 281 ¶ 17.
 9         Isaac and Gabriela have a strong relationship, and Isaac desperately wishes to
10   care for his granddaughter. Ex. 5 at 63 ¶ 12. When Isaac and Gabriela lived in El
11   Salvador they spent a “significant amount” of time together. Ex. 33 at 280 ¶ 16. When
12   Isaac moved to the United States, he and Gabriela “kept in regular communication with
13   weekly telephone calls and [Isaac] provided [Gabriela] and her family with financial
14   support.” Id. Gabriela has continued to keep in regular contact with Isaac since she has
15   been detained by ORR, calling him weekly. Id.; ORR Home Study, Ex. 28 at 228.
16   Gabriela “reports (and her therapist affirms) that her grandfather encourages good
17   decision making and helps her when she struggles to get through difficult times.” Ex.
18   34 at 314. Gabriela loves her grandfather very much and knows that he would take good
19   care of her. Ex. 3 at 54 ¶ 7. Moreover, Gabriela’s mother has provided written and verbal
20   approval of Isaac, stating that she wants him to care for Gabriela as her sponsor. Ex. 30
21   at 253; Ex. 7 at 110 ¶ 5. Indeed, “[Isaac] offers [Gabriela] something that no one else
22   can: a constant, steady and loving presence who will be there for her no matter what.
23   More than anything else, this is the medication that [Gabriela] most needs.” Ex. 34 at
24   314 (emphasis added).
25         Unsworn equivocations in ORR’s home study report do not trump sworn,
26   unequivocal declarations to the contrary. Adickes v. S.H. Kress & Co., 398 U.S. 144,
27   158 n.17 (1970) (unsworn statements insufficient to create genuine issue of material
28   fact). Here, all competent evidence—including the declarations of two highly qualified
                                                           MEMORANDUM IN SUPPORT OF MOTION FOR
                                               13                        PRELIMINARY INJUNCTION
                                                               CASE NO. 2:18-CV-05741-DMG-PLA
Case 2:18-cv-05741-DMG-PLA Document 48-1 Filed 08/17/18 Page 20 of 26 Page ID
                                 #:1577


 1   child welfare experts—establishes that Isaac is more than fit to care for Gabriela. See
 2   Ex. 34 at 313 (“the options for [Gabriela] if released to her grandfather in a community
 3   such as Oakland are filled with possibility for growth and healing while the ongoing
 4   incarceration and institutional life are stifling and unhealthy.”); Ex. 33 at 278 ¶ 9
 5   (“[Isaac] is fully aware that parenting [Gabriela] may come with challenges, but it is
 6   clear that he has the capacity and support that he needs to effectively support
 7   Gabriela.”).
 8                                             ***
 9         In sum, the harm ORR is causing Gabriela is clear and present; the harm it thinks
10   she may experience in Isaac’s care is, at best, speculative and remote. If ORR wishes to
11   deny Isaac Gabriela’s custody, it must place her somewhere better than her
12   grandfather’s home. See 8 U.S.C. §§ 1232(c)(2)(A) (requiring ORR to place children in
13   “least restrictive” setting consistent with their best interests). Yet nowhere in its home
14   study or elsewhere does it appear that ORR ever stopped to think that its alternative to
15   reunifying Gabriela—indefinite detention—might be far worse for her than placement
16   with her grandfather. As Dr. Cohen aptly observed, “there is something very troubling
17   about a system in which children are kept institutionalized and loving family members
18   denied sponsorship based on criteria which—were they applied to households
19   throughout America—would find the vast majority of normal, healthy parents
20   unacceptable.” Ex. 34 at 313.
21   V.    GABRIELA IS LIKELY TO SUCCEED ON THE MERITS OF HER CLAIM THAT
           ORR’S CONTINUING TO DETAIN HER IS UNLAWFUL
22
23         The Flores Settlement, the TVPRA and the First and Fifth Amendments to the
24   Constitution all prohibit ORR from unnecessarily prolonging the detention of children
25   and separating them from family. Gabriela has more than a reasonable chance of
26   succeeding on the merits of her legal challenges to indefinite ORR detention and family
27   separation.
28
                                                           MEMORANDUM IN SUPPORT OF MOTION FOR
                                               14                        PRELIMINARY INJUNCTION
                                                               CASE NO. 2:18-CV-05741-DMG-PLA
Case 2:18-cv-05741-DMG-PLA Document 48-1 Filed 08/17/18 Page 21 of 26 Page ID
                                 #:1578


 1          A.     ORR’s Detention of Gabriela Breaches the Flores Settlement
 2          Paragraph 14 of the Flores Settlement provides: “Where the INS determines that
 3   the detention of the minor is not required either to secure his or her timely appearance
 4   before the INS or the immigration court, or to ensure the minor’s safety or that of others,
 5   [ORR] shall release a minor from its custody without unnecessary delay . . . [to] an
 6   adult relative (brother, sister, aunt, uncle, or grandparent). . .” Ex. 1 at 10-11 (emphasis
 7   added). Further grounding ORR’s obligation to minimize children’s detention,
 8   Paragraph 18 of the Flores Settlement provides, “Upon taking a minor into custody, the
 9   INS . . . shall make and record the prompt and continuous efforts on its part toward . . .
10   the release of the minor . . .” Id. at 13.
11          This Court has repeatedly affirmed its jurisdiction to enforce the Flores
12   Settlement and set out the principles guiding enforcement. See, e.g., Flores v. Johnson,
13   212 F. Supp. 3d 864 (C.D. Cal. 2015). The cardinal principle is straightforward:
14   “‘Where the contract is clear, the plain language of the contract governs.’” Id. at 870.
15          Here, the only reason ORR continues to detain Gabriela is because it purports to
16   doubt Isaac’s fitness. Although nothing in the Flores Settlement requires ORR to place
17   Gabriela with someone it reasonably believes may harm or neglect her, the evidence
18   establishes that Isaac would do neither. Indeed, Ms. Rugama’s home study demonstrates
19   that Isaac would provide a safe, caring, and supportive home for Gabriela. Accordingly,
20   she is likely to succeed on the merits of her claim that ORR’s refusal to reunify her
21   violates the plain text of the Flores Settlement.
22          B.     ORR’s Refusal to Place Gabriela with Isaac Violates the TVPRA
23          Gabriela is also likely to prevail on her claim that her continued detention at St.
24   Michael’s violates the TVPRA’s requirement that ORR place her in the least restrictive
25   setting consonant with her best interests. Section 235(c)(2)(A) of the TVPRA, codified
26   at 8 U.S.C. § 1232(c)(2)(A), requires ORR to “promptly” place detained children “in
27   the least restrictive setting that is in the best interest of the child,” generally, with “a
28   suitable family member . . . .” Only if “a ‘suitable family member’ or other guardian is
                                                             MEMORANDUM IN SUPPORT OF MOTION FOR
                                                  15                       PRELIMINARY INJUNCTION
                                                                 CASE NO. 2:18-CV-05741-DMG-PLA
Case 2:18-cv-05741-DMG-PLA Document 48-1 Filed 08/17/18 Page 22 of 26 Page ID
                                 #:1579


 1   not available to take custody of a minor,” may ORR continue to detain him or her “in a
 2   specialized juvenile program or facility.” Flores v. Sessions, 862 F.3d at 871.
 3            Again, Gabriela’s legal claim is straightforward: As between ORR custody and
 4   her family, the competent evidence leaves no doubt that the least restrictive setting in
 5   Gabriela’s best interests is with Isaac. Gabriela is likely to succeed on this claim as
 6   well.8
 7            C.     Gabriela’s Indefinite Detention Without Due Process Violates the
                     First and Fifth Amendments
 8
 9            Finally, ORR’s prolonged detention of Gabriela plainly implicates her
10   constitutional rights to physical liberty, family unity, and family association.
11            First, Gabriela has a fundamental right to freedom from detention. See, e.g.,
12   Zadvydas v. Davis, 533 U.S. 678, 690 (2001) (“Freedom from imprisonment—from
13   government custody, detention, or other forms of physical restraint—lies at the heart of
14   the liberty [the Fifth Amendment’s Due Process] Clause protects.”); United States v.
15   Bogle, 855 F.2d 707, 710-11 (11th Cir. 1988) (the “unnecessary deprivation of liberty
16   clearly constitutes irreparable harm”) (citation omitted); Reno v. Flores, 507 U.S. 292,
17   316 (1993) (“a child’s constitutional freedom from bodily restraint is no narrower than
18   an adult’s”).
19            Second, Gabriela has a substantial liberty interest in family unity and family
20   association. See, e.g., Int’l Refugee Assistance Project v. Trump, 883 F.3d 233, 270 (4th
21   Cir. 2018), vacated by _ S.Ct. _, 2018 WL 1256938 (“Prolonged and indefinite
22   separation of parents, children, siblings and partners create not only temporary feelings
23   of anxiety but also lasting strains on the most basic human relationships cultivated
24   through shared time and experience.”); Moore v. City of East Cleveland, 431 U.S. 494,
25   503-04 (1977) (plurality opinion) (stating that “the Constitution protects the sanctity of
26
     8
      As discussed post, construing the TVPRA as granting ORR unbridled power to detain
27   Gabriela indefinitely by administrative fiat would raise profound constitutional
     questions contrary to the rule of “constitutional avoidance.” Diouf v. Napolitano, 634
28   F.3d 1081, 1086 (9th Cir. 2011).
                                                            MEMORANDUM IN SUPPORT OF MOTION FOR
                                               16                         PRELIMINARY INJUNCTION
                                                                CASE NO. 2:18-CV-05741-DMG-PLA
Case 2:18-cv-05741-DMG-PLA Document 48-1 Filed 08/17/18 Page 23 of 26 Page ID
                                 #:1580


 1   the family precisely because the institution of the family is deeply rooted in this Nation's
 2   history and tradition” and noting that “[o]urs is by no means a tradition limited to respect
 3   for the bonds uniting the members of the nuclear family. The tradition of uncles, aunts,
 4   cousins, and especially grandparents sharing a household along with parents and
 5   children has roots equally venerable and equally deserving of constitutional
 6   recognition.” (emphasis added); see also Roberts v. U.S. Jaycees, 468 U.S. 609, 617-18
 7   (1984) (the freedom of intimate association stems from the necessity of protecting
 8   individuals’ ability “to enter into and maintain certain intimate human relationships
 9   [that] must be secured against undue intrusion by the State because of the role of such
10   relationships in safeguarding the individual freedom that is central to our constitutional
11   scheme”); Johnson v. City of Cincinnati, 310 F.3d 484, 501 (6th Cir. 2002) (finding that
12   “nothing in our tradition or precedent can credibly be read to suggest that the right to
13   participate in child rearing does not extend to grandparents.”). 9
14         Third, the uncontroverted evidence shows that ORR has provided neither
15   Gabriela nor Isaac any meaningful process by which they can contest ORR’s having
16   declared Isaac an unfit custodian. 10 Ex. 7 at 112 ¶ 12 (“When I reached out to
17   [Gabriela’s] social worker at Shiloh, she told me that ORR threw out my application
18   . . . ORR has never officially told me that they are looking at other sponsors or that my
19   application has been rejected.”); Ex. 2 at 49 ¶ 6 (“I don’t remember ever being told or
20   reading that I could appeal or challenge the government’s decision to put me into this
21   treatment facility, or that I could go to court about it.”). ORR’s failure to afford Gabriela
22   and Isaac with even the most minimal procedural protections violates Gabriela’s
23
     9
24      By refusing to placement Gabriela in her grandfather’s custody, regardless of the
     procedures given, ORR has violated Gabriela’s rights to substantive due process and
25   family association. See Aristotle P. v. Johnson, 721 F. Supp. 1002, 1005-10 (N.D. Ill.
     1989); see also Johnson v. City of Cincinnati, 310 F.3d at 501.
26   10
        To determine the protections due process requires, courts apply the test prescribed in
     Mathews v. Eldridge, 424 U.S. 319 (1976), which requires consideration of (1) the
27   private interest at stake, (2) the comparative risk of an erroneous deprivation of liberty
     with and without additional safeguards, and (3) any countervailing interests. Id. at 334-
28   35.
                                                             MEMORANDUM IN SUPPORT OF MOTION FOR
                                                17                         PRELIMINARY INJUNCTION
                                                                 CASE NO. 2:18-CV-05741-DMG-PLA
Case 2:18-cv-05741-DMG-PLA Document 48-1 Filed 08/17/18 Page 24 of 26 Page ID
                                 #:1581


 1   procedural due process rights and has resulted in subjecting her to prolonged detention,
 2   placement in overly restrictive settings, and prolonged separation from her family.
 3   ORR’s autocratic decision-making is simply unacceptable when children’s freedom and
 4   family unity are at stake.
 5         The Supreme Court has held that “widely shared practice” serves to inform
 6   whether a particular practice so drastically departs from accepted norms as to be
 7   presumptively violative of due process. Schad v. Arizona, 501 U.S. 624, 640 (1991)
 8   (plurality opinion) (“widely shared practice” a “concrete indicator[] of what
 9   fundamental fairness and rationality require”). Concerning the detention of minors,
10   juvenile justice and child welfare standards uniformly require prompt notice and
11   opportunity to be heard when a child is detained. The guidelines of the National Council
12   of Juvenile and Family Court Judges, which are followed in all states, require that a
13   “preliminary protective hearing” “must take place promptly”—in most states, within
14   one to three days of removal. National Council of Juvenile and Family Court Judges,
15   Resource Guidelines: Improving Court Practice in Child Abuse & Neglect Cases 30
16   (1995), available at www.ncjfcj.org/sites/default/files/ resguide_0.pdf (“NCJFCJ
17   Guidelines”). The American Bar Association’s Juvenile Justice Standards similarly
18   require that juvenile authorities must request a hearing before a judge or referee no later
19   than 24 hours following the juvenile’s arrival at a detention facility, and further, that the
20   juvenile court should hear such a petition no more than 24 hours after that the request
21   for hearing. Institute of Judicial Administration & American Bar Association, Juvenile
22   Justice Standards Annotated: A Balanced Approach (1996), at 131, 134, available at
23   www.ncjrs.gov/pdffiles1/ojjdp/166773.pdf (“ABA Standards”).
24         Competent child welfare and juvenile justice standards further prescribe the basic
25   procedural protections of a fair and effective detention hearing. Obviously, a child must
26   be given notice of the hearing and the reasons the state has taken him or her into custody.
27   NCJFCJ Guidelines at 36; ABA Standards at 134; In re Gault, 387 U.S. 1, 34 (1967).
28   Next, a judge or other neutral decision maker must preside over the hearing. NCJFCJ
                                                             MEMORANDUM IN SUPPORT OF MOTION FOR
                                                18                         PRELIMINARY INJUNCTION
                                                                 CASE NO. 2:18-CV-05741-DMG-PLA
Case 2:18-cv-05741-DMG-PLA Document 48-1 Filed 08/17/18 Page 25 of 26 Page ID
                                 #:1582


 1   Guidelines at 33; ABA Standards at 131. When a court determines that a child should
 2   remain in detention, it must provide her or him with a written explanation of its reasons.
 3   NCJFC Guidelines at 40-41; ABA Standards at 135-36.
 4         Here, ORR disregarded each and every one of the foregoing child welfare
 5   standards: it not only failed to give Isaac and Gabriela notice and hearing within any
 6   time certain, it gave them no notice or hearing at all. ORR’s process, or rather the utter
 7   lack thereof, is presumptively unconstitutional. Gabriela is likely to prevail on her
 8   constitutional claim as well.
 9   VI.   THE EQUITIES WEIGH HEAVILY IN GABRIELA’S FAVOR
10         When ruling on a preliminary injunction, “a court must balance the competing
11   claims of injury and must consider the effect on each party of the granting or
12   withholding of the requested relief.” Arc of Cal., supra, 757 F.3d at 991 (quoting Amoco
13   Prod. Co. v. Vill. of Gambell, 480 U.S. 531, 542 (1987)).
14         Here, ORR’s sole legitimate interest in refusing to reunify Gabriela with her
15   grandfather is to protect her from harm or neglect.11 Yet the facts show that ORR’s
16   indefinite detention of Gabriela is doing the precise opposite: causing her great harm
17   that she would not suffer with her family.
18   VII. REUNITING GABRIELA WITH HER FAMILY IS IN THE PUBLIC INTEREST
19         The Ninth Circuit has repeatedly held that “‘it is always in the public interest to
20
     11
        Unfortunately, Defendants’ public statements suggest that ORR’s detaining children
21   at times aims more to deter unauthorized immigration than to protect children. Steven
     Wagner, acting assistant secretary at HHS’s Administration for Children and Families,
22   recently characterized the Flores Settlement and the TVPRA as creating an
     “immigration loophole [in which] HHS is forced to release minors from Central
23   America into the United States . . .” Illegal Immigrant Program Creating Proxy Foster
     Care System, Says Official, THE EPOCH TIMES, June 23, 2018, available at
24   www.theepochtimes.com/illegal-immigrant-program-creating-proxy-foster-care-
     system-says-official_2544724.html (last visited June 4, 2018). He continued to argue
25   that ORR’s releasing children “‘is an example of open borders,”’ “makes the immediate
     crisis worse and creates an economic incentive for further violation of federal
26   immigration law.” Id.
27   ORR’s apparent zeal to detain children in order to deter others from entering unlawfully
     betrays a hollowness in its professed concern for Gabriela’s welfare, especially
28   considering that she will turn eighteen in four months.
                                                           MEMORANDUM IN SUPPORT OF MOTION FOR
                                               19                        PRELIMINARY INJUNCTION
                                                               CASE NO. 2:18-CV-05741-DMG-PLA
Case 2:18-cv-05741-DMG-PLA Document 48-1 Filed 08/17/18 Page 26 of 26 Page ID
                                 #:1583


 1   prevent the violation of a party’s constitutional rights.’” Melendres v. Arpaio, 695 F.3d
 2   990, 1002 (9th Cir. 2012) (quoting Sammartano v. First Judicial District Court, 303
 3   F.3d 959, 974 (9th Cir. 2002)). There is also a weighty public interest in “ensur[ing]
 4   that federal statutes are construed and implemented in a manner that avoids serious
 5   constitutional questions.” Rodriguez v. Robbins, 715 F.3d 1127, 1146 (9th Cir. 2013).
 6   VIII. CONCLUSION
 7         For the foregoing reasons, the Court should grant this motion and issue an order
 8   preliminarily enjoining ORR from continuing to detain Plaintiff Gabriela and requiring
 9   that she be reunited with her grandfather Isaac immediately.
10   Dated:      August 17, 2018            CARLOS HOLGUÍN
                                            Center for Human Rights &
11                                          Constitutional Law
12                                          HOLLY COOPER
                                            CARTER WHITE
13                                          University of California Davis School of Law
14                                          LEECIA WELCH
                                            NEHA DESAI
15                                          POONAM JUNEJA
                                            CRYSTAL ADAMS
16                                          National Center for Youth Law
17                                          SUMMER WYNN
                                            MARY KATHRYN KELLEY
18                                          JON F. CIESLAK
19                                          MEGAN DONOHUE
                                            Cooley LLP
20
21                                           /s/ Leecia Welch
                                             Leecia Welch
22
                                             One of the Attorneys for Plaintiffs
23
24
25
26
27
28
                                                           MEMORANDUM IN SUPPORT OF MOTION FOR
                                               20                        PRELIMINARY INJUNCTION
                                                               CASE NO. 2:18-CV-05741-DMG-PLA
